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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION


PAOLO GABRIEL RODRIGUEZ and
CESAR FABIAN FERNANDEZ,

                    Plaintiffs,

v.                                                    Case No.: 3:23-cv-388-WWB-JBT

VALLE ELITE REMODELING
SERVICES, LLC, SANDRA L.
BLANDON MORENO and RICHARD
VALLE,

                    Defendants.
                                       /

                                       ORDER

       THIS CAUSE is before the Court on Plaintiffs’ Motion for Default Judgment (Doc.

41).   United States Magistrate Judge Joel B. Toomey issued a Report and

Recommendation (Doc. 42), in which he recommends that the Motion be granted.

       After a de novo review of the record, and noting that no objections were timely

filed, the Court agrees entirely with the analysis in the Report and Recommendation.

       Therefore, it is ORDERED and ADJUDGED as follows:

          1. The Report and Recommendation (Doc. 42) is ADOPTED and

             CONFIRMED and made a part of this Order.

          2. Plaintiffs’ Motion for Default Judgment (Doc. 41) is GRANTED.

          3. The Clerk is directed to enter a judgment in favor of Paolo Gabriel

             Rodriguez and against Defendants, jointly and severally, awarding

             Rodriguez $31,743.00.
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          4. The Clerk is directed to enter a judgment in favor of Cesar Fabian

             Fernandez and against Defendants, jointly and severally, awarding

             Fernandez $43,788.00.

          5. On or before June 17, 2024, Plaintiffs shall file a motion for entitlement to

             attorney’s fees and expenses in accordance with Local Rule 7.01(b).

      DONE AND ORDERED in Jacksonville, Florida on June 4, 2024.




Copies furnished to:

Counsel of Record




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